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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,             )
                                      )
     Plaintiff,                       )     4:05CR3029-4
                                      )
     v.                               )
                                      )
MICHAEL J. CURRY,                     )         ORDER
                                      )
     Defendant.                       )



     IT IS ORDERED,

     Plaintiff’s unopposed oral motion for continuance is granted
and trial as to the above defendant is continued to 9:00 a.m.,
July 14, 2005, for a duration of two trial days before the
undersigned magistrate judge in Courtroom 2, United States
Courthouse and Federal Building, 100 Centennial Mall North,
Lincoln, Nebraska. Jury selection will be held at commencement
of trial.

     Dated May 24, 2005.

                                   BY THE COURT


                                   s/     David L. Piester
                                   David L. Piester
                                   United States Magistrate Judge
